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  9                          UNITED STATES DISTRICT COURT
 10                         CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
 11
 12 Consumer Financial Protection          Case No. 2:15-cv-09692-PSG(Ex)
    Bureau,
 13                                        (consolidated for pretrial purposes with Case
         Plaintiff,                        Nos. 2:16-cv-02724-PSG(Ex) and 2:16-cv-
 14
    v.                                     02725-PSG(Ex))
 15
 16 D and D Marketing, Inc., d/b/a         STIPULATED FEDERAL RULE OF
    T3Leads, et al.,
 17                                        EVIDENCE 502(d) ORDER

 18      Defendants.

 19
              This matter having come before the Court pursuant to Federal Rule of
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      Evidence 502(d), and Plaintiff Consumer Financial Protection Bureau (the “CFPB”
 21
      or “Bureau”) and Defendants D and D Marketing, Inc. d/b/a T3Leads (“T3”), Marina
 22
      Demirchyan, Grigor Demirchyan, Dmitry Fomichev, and Davit Gasparyan (a/k/a
 23
      David Gasparyan) (“Defendants” and collectively with the CFPB the “Parties” or
 24
      individually as “Party”) having stipulated to the relief set forth herein, it is hereby
 25
      ORDERED:
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                                                  1
                         STIPULATED FEDERAL RULE OF EVIDENCE 502(d) ORDER
      2784179v.1
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  1           The production of privileged or work-product-protected documents,
  2 electronically stored information (“ESI”), or other information, whether inadvertent
  3 or otherwise, is not a waiver of the privilege or protection from discovery in this case
  4 or in any other federal or state proceeding. This Order shall be interpreted to provide
  5 the maximum protection allowed by Federal Rule of Evidence 502(d).
  6           Nothing contained herein is intended to or shall serve to limit a Party’s right to
  7 conduct a review of documents, ESI, or other information (including metadata) for
  8 relevance, responsiveness, or segregation of privileged or protected information
  9 before production.
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 11
 12           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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 14           DATED: __________________
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 16
 17           HON.
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                          STIPULATED FEDERAL RULE OF EVIDENCE 502(d) ORDER
      2784179v.1
